Case 2:18-cv-10542-LJM-EAS ECF No. 89-1 filed 08/31/18       PageID.1315   Page 1 of 2



                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  Joel Vangheluwe and Jerome
  Vangheluwe,
                 Plaintiffs,
        v.
  GotNews, LLC, Freedom Daily,
  LLC, Charles C. Johnson, Alberto            Case No. : 2:18-cv-10542-LJM-EAS
  Waisman, Jeffrey Rainforth, Jim
  Hoft, David Petersen, Jonathan Spiel,       Hon. Laurie J. Michelson
  Shirley Husar, Eduardo Doitteau,
  Lita Coulthart-Villanueva, Kenneth          Mag. Elizabeth A. Stafford
  Strawn, Patrick Lehnhoff, Beth
  Eyestone, Lori Twohy, Raechel
  Hitchye, James Christopher Hastey,
  Christopher Jones, Connie Comeaux,
  Gavin McInnes, Richard Weikart,
  and Paul Nehlen,
                 Defendants.




                       JUDGMENT IN A CIVIL ACTION

       Pursuant to Plaintiff Jerome Vangheluwe’s Notice of Acceptance of

 Defendant Got News, LLC’s Offer of Judgment [ECF Doc. 34] (the “Offer of

 Judgment”), the Clerk of the Court enters this final judgement as a separate

 document pursuant to Federal Rule of Civil Procedure 58(a).

       Accordingly, it is hereby ORDERED and ADJUDGED that Plaintiff Jerome

 Vangheluwe shall recover from Defendant Got News, LLC the total sum of $19,990,


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Case 2:18-cv-10542-LJM-EAS ECF No. 89-1 filed 08/31/18   PageID.1316   Page 2 of 2



 inclusive of Plaintiff Jerome Vangheluwe’s costs and attorneys’ fees accrued

 through May 16, 2018, to be paid by Defendant Got News, LLC for all causes of

 actions and claims for damages set forth in Plaintiffs’ Amended Complaint as to

 Defendant Got News, LLC.

       It is further ORDERED and ADJUDGED that Plaintiff Jerome Vangheluwe

 shall recover from Defendant Got News, LLC post-judgment interest as a rate of

 2.44% per annum.

       SIGNED THIS ____________ day of _______________, 2018.



                                           CLERK OF COURT



                                           ______________________________
                                           Signature of Clerk or Deputy Clerk




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